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 1                  IN THE UNITED STATES DISTRICT COURT FOR

 2                     THE EASTERN DISTRICT OF LOUISIANA

 3                               AT NEW ORLEANS

 4   KURIAN DAVID, et al.,                     )
                                               )
 5                         Plaintiffs,         )
                                               )
 6             v.                              )   Case No. 08-1220 "E"
                                               )   February 4, 2015
 7   SIGNAL INTERNATIONAL, LLC, et al.,        )   Jury Trial, Day Sixteen
                                               )   Jury Charge Conference
 8                         Defendant.          )   Daily Copy Transcript
     RELATED CASE:                             )
 9                                             )
     EQUAL EMPLOYMENT OPPORTUNITY              )
10   COMMISSION,                               )
                                               )
11                         Plaintiff,          )
                                               )
12             v.                              )   Case No. 12-557 "E"
                                               )
13   SIGNAL INTERNATIONAL, LLC, et al.,        )
                                               )
14                         Defendants.         )
     RELATED CASE:                             )
15                                             )
     LAKSHMANAN PONNAYAN ACHARI, et al.,       )
16                                             )
                           Plaintiff,          )
17                                             )
               v.                              )   Case No. 13-6218 "E"
18                                             )
     SIGNAL INTERNATIONAL, LLC, et al.,        )
19                                             )
                           Defendant.          )
20                                             )
                                               )
21   APPLIES TO:    DAVID (08-1220)            )

22
                           TRANSCRIPT OF PROCEEDINGS
23
                       BEFORE THE HONORABLE SUSIE MORGAN
24
                         UNITED STATES DISTRICT JUDGE
25


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 1   OFFICIAL COURT REPORTER:            SUSAN A. ZIELIE, RMR, FCRR
                                         HB-275
 2                                       500 Poydras Street
                                         New Orleans Louisiana 70130
 3                                       susan_zielie@laed.uscourts.gov
                                         laedcourtreporter@gmail.com
 4                                       504.589.7781

 5          Proceedings Recorded by Computer-aided Stenography

 6

 7   APPEARANCES:

 8   For Plaintiffs Salekha,             ALAN HOWARD, ESQ.
     Thangamani, Khuttan, Andrews        HUGH SANDLER, ESQ.
 9   and Kaddakkarappally:               MELIA AMAL BOUHABIB, ESQ.
                                         CHIENI SUZUKI, ESQ.
10                                       Crowell & Moring, LLP
                                         590 Madison Avenue
11                                       New York NY 10022
                                         212.803.4021
12
     For Plaintiffs SPLC:                DANIEL WERNER, ESQ.
13                                       NAOMI TSU, ESQ.
                                         KRISTI L. GRAUNKE, ESQ.               03:53PM
14                                       MORRIS S. DEES, ESQ.
                                         Southern Poverty Law Center
15                                       Immigrant Justice Project
                                         233 Peachtree Street NE
16                                       Atlanta GA 30303
                                         404.521.6700
17
                                         MEREDITH B. STEWART, ESQ.
18                                       Southern Poverty Law Center
                                         1055 St. Charles Avenue
19                                       Suite 505
                                         New Orleans LA 70130
20
                                         ANJALI J. NAIR, ESQ.
21                                       Southern Poverty Law Center
                                         400 Washington Avenue
22                                       Montgomery AL 36104

23                                       CHANDRA S. BHATNAGAR, ESQ.
                                         Human Rights Program -
24                                         American Civil Liberties Union
                                         125 Broad Street
25                                       18th Floor
                                         New York NY 10004

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 1   APPEARANCE - 2

 2                                       IVY O. SURIYOPAS, ESQ.
                                         DAHSONG KIM, ESQ.
 3                                       Asian American Legal Defense
                                          and Education Fund
 4                                       99 Hudson Street
                                         12th Floor
 5                                       New York NY 10013

 6                                       JOSEPH BJARNSON, ESQ.
                                         Sahn Ward Coschignano & Baker
 7                                       333 Earle Ovington Boulevard
                                         Suite 601
 8                                       Uniondale NY 11553

 9                                       TRACIE L. WASHINGTON
                                         Louisiana Justice Institute
10                                       1631 Elysian Fields Avenue
                                         New Orleans LA 70117
11

12

13

14   For Defendant Signal:               ERIN CASEY HANGARTNER, ESQ.
                                         HAL D. UNGAR, ESQ.
15                                       ELHAM RABBANI, ESQ,
                                         BRIAN ROUX, ESQ.
16                                       LANCE RYDBERG, ESQ.
                                         ALAN WEINBERGER, ESQ.
17                                       MITCHELL P. HASENKAMPF, ESQ.
                                         LAUREN MASUR DAVIS, ESQ.
18                                       Hangartner Rydberg Terrell, LLC
                                         One Shell Square
19                                       701 Poydras Street
                                         Suite 310
20                                       New Orleans LA 70139

21                                       PATRICIA BOLLMAN, ESQ.
                                         JAMES CORNBLATT, ESQ.
22                                       Patricia Bollman, APLC
                                         3636 South I-10 Service Road W.
23                                       Suite 200
                                         Metairie LA 70001
24

25


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 1   APPEARANCE - 3

 2   For Defendant/Cross                 STEPHEN SHAPIRO, ESQ.
     Defendant Dewan:                    Stephen Shapiro, ESQ.
 3                                       700 Camp Street
                                         New Orleans LA 70130
 4

 5   For Defendant Burnett:              TIM CERNIGLIA, ESQ.
                                         DANIEL BURAS, JR., ESQ.
 6                                       Law Office of Tim Cerniglia
                                         1521 St. Charles Avenue
 7                                       New Orleans LA 70130

 8
     Unrepresented Defendants:           GLOBAL RESOURCES, INC.
 9                                       MICHAEL POL
                                         J&M ASSOCIATES, INC.,
10                                         of MISSISSIPPI
                                         J&M MARINE & INDUSTRIAL, LLC
11                                       BILLY R. WILKS
                                         INDO-AMERI SOFT, LLC
12                                       KURELLA RAO

13

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 1            NEW ORLEANS, LOUISIANA; WEDNESDAY, FEBRUARY 4, 2015                 05:25PM


 2                                    5:58 P.M.                                   05:58PM


 3              THE COURT:    Good evening.                                       05:58PM


 4                    Let's see, I've got the cross claim first in my             05:59PM


 5   hand.    So I am comparing what I had yesterday with what I had              05:59PM


 6   today.                                                                       05:59PM


 7                    I want to use the red language, so you can make             05:59PM


 8   these changes.    And in the first -- the first line says:       For         05:59PM


 9   Signal's claims of fraud.        Take that out.   And then make a            05:59PM


10   paragraph.                                                                   05:59PM


11                    Take out:   I order.    And put in:   F Signal to           05:59PM


12   establish a cause of action for fraud against defendants, it                 05:59PM


13   must establish by clear and convincing evidence.                             05:59PM


14                    Then, after the red, the sentence that says:         Each   05:59PM


15   of these elements must be proven by clear and convincing                     05:59PM


16   evidence, can come out.                                                      06:00PM


17                    I think the next issue is the reputational harm,            06:00PM


18   attorneys' fees we talked about yesterday, which I haven't had a             06:00PM


19   chance to look at.      So that has to stay in.                              06:00PM


20                    The blue, the paragraph, what's the dispute about           06:00PM


21   that?    The one that starts:      If Signal wins on its cross claim.        06:00PM


22              MR. HASENKAMPF:    That is alternative for the                    06:00PM


23   compensatory damages language.                                               06:00PM


24              THE COURT:    Okay.    So you'll have to wait and see how         06:00PM


25   it comes out.                                                                06:00PM




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 1              MR. HASENKAMPF:    One other change I made to Signal's            06:00PM


 2   detriment was I did clear and convincing evidence for damages                06:00PM


 3   because everything I saw was everything for fraud has to be                  06:00PM


 4   proven by clear and convincing evidence.                                     06:00PM


 5              THE COURT:   Isn't that already up in the first, in the           06:00PM


 6   beginning now?    I mean, there's not a separate burden of proof             06:01PM


 7   for damages.                                                                 06:01PM


 8              MR. HASENKAMPF:    Correct.                                       06:01PM


 9              THE COURT:   So we just say clear and convincing at the           06:01PM


10   top.   So you can take that out.                                             06:01PM


11                    I'll think about that, but usually we don't have a          06:01PM


12   different standard.     We haven't been saying a standard for                06:01PM


13   establishing your claim and then proving your damages.                       06:01PM


14              MR. HASENKAMPF:    It threw me for a loop when you                06:01PM


15   brought it up yesterday.                                                     06:01PM


16              THE COURT:   Yeah.   Okay.                                        06:01PM


17                    And then let's -- I'm going to turn to the jury             06:01PM


18   verdict form for that.                                                       06:01PM


19                    Cross claim 1, fraud.    So it is just Malvern              06:02PM


20   Burnett?                                                                     06:02PM


21              MR. HASENKAMPF:    We broke three out, so we did a                06:02PM


22   separate form for each.      So -- because we threw around a couple          06:02PM


23   other ideas.                                                                 06:02PM


24              THE COURT:   When we've -- go to the next claim.       Have       06:02PM


25   we been doing that in caps or bold or something?                             06:02PM




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 1             LAW CLERK:    Italics.                                              06:02PM


 2             THE COURT:    Just for purposes of getting this as                  06:02PM


 3   consistent as we can, if you'd put the next claim, put that in                06:02PM


 4   italics and put -- I'm going to put:          on page blank, and at the       06:03PM


 5   end we're going to put page numbers.                                          06:03PM


 6                  So this next cross claim, actually, it should say,             06:03PM


 7   proceed to the next cross claim on page blank.                                06:03PM


 8                  All right.       On damages.    I guess we covered the         06:03PM


 9   kinds of damages that were recoverable in the instructions.                   06:03PM


10   Okay.                                                                         06:03PM


11                  And when you got to -- so you did Gulf Coast and               06:03PM


12   the law office.                                                               06:04PM


13             MR. HASENKAMPF:    Correct.                                         06:04PM


14                  The same thing for Dewan and Dewan Consultants.                06:04PM


15             THE COURT:    Okay.    So you can make those changes for            06:04PM


16   them.                                                                         06:04PM


17                  You know, I never heard of this MedTech                        06:04PM


18   Consultants.   Was that in the past that people used that?                    06:04PM


19             MR. HASENKAMPF:    That was a --                                    06:04PM


20             MR. WERNER:    It's a d/b/a.                                        06:04PM


21             MR. SHAPIRO:   I've never known why it's been used                  06:04PM


22   either.                                                                       06:04PM


23             THE COURT:    Take that out.                                        06:04PM


24             MR. HASENKAMPF:    Are you taking out MedTech?                      06:04PM


25             THE COURT:    Take out a/k/a MedTech Consultants, because           06:04PM




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 1   nobody's ever said that.       That's just confusing.                        06:04PM


 2                    Okay.    Then cross claim 2.                                06:04PM


 3                    And am I right that, in 1, there's no agency                06:05PM


 4   implication and there's no comparative fault?          Because I don't       06:05PM


 5   see anything about it.                                                       06:05PM


 6            MR. HASENKAMPF:       We don't allege any, and we haven't           06:05PM


 7   received anything.       I mean, any language.                               06:05PM


 8            THE COURT:       You're not holding somebody liable on the          06:05PM


 9   basis of agency?                                                             06:05PM


10            MR. HASENKAMPF:       Correct.                                      06:05PM


11            THE COURT:       And you don't think -- so -- and you're            06:05PM


12   just saying each person's own fraud and the damages as a result              06:05PM


13   of that fraud.                                                               06:05PM


14                    All right.    Breach of fiduciary duty, let's see           06:05PM


15   what you put.    How about:     Signal alleges that Malvern Burnett,         06:05PM


16   Gulf Coast, et cetera, breached their fiduciary duty?                        06:06PM


17            MR. CERNIGLIA:       That makes it sound as if it was               06:06PM


18   decided there was a fiduciary duty.                                          06:06PM


19            THE COURT:       Do we have an instruction about fiduciary          06:06PM


20   duty?                                                                        06:06PM


21                    Signal alleges that they have -- that Malvern               06:06PM


22   Burnett had a fiduciary duty and -- had and breached.                        06:06PM


23            MR. CERNIGLIA:       That's fine.   That would work.                06:06PM


24                    This sentence:    Signal must prove by clear and            06:06PM


25   convincing evidence, doesn't that go before?           Doesn't that go       06:06PM




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 1   before where you say what the allegations are?                             06:06PM


 2              MR. HASENKAMPF:   It is.                                        06:07PM


 3                   (Discussion held off the record.)                          06:07PM


 4              THE COURT:   So, Mitch, the first one Signal alleges,           06:07PM


 5   wouldn't it be:   Signal must prove each of the following                  06:07PM


 6   elements by clear and convincing evidence:                                 06:07PM


 7                   That, one, the existence of an attorney-client             06:07PM


 8   relationship.                                                              06:07PM


 9                   See what I'm saying?     First paragraph:     Signal       06:07PM


10   alleges.                                                                   06:07PM


11                   Second:   Signal must prove each of the following          06:07PM


12   elements by clear and convincing evidence:                                 06:07PM


13                   One, the existence of an attorney-client                   06:07PM


14   relationship.                                                              06:07PM


15              MR. HASENKAMPF:   Correct, yes.     I like that.                06:07PM


16              THE COURT:   Because you start this sentence out saying:        06:07PM


17   When a legal malpractice claim.       Is that different from a breach      06:07PM


18   of fiduciary duty?                                                         06:08PM


19              MR. HASENKAMPF:   No.   I think they are just two forms         06:08PM


20   of malpractice.                                                            06:08PM


21              THE COURT:   So, here, we ought to say breach of                06:08PM


22   fiduciary duty, since that's what you're calling it.                       06:08PM


23                   All right, we're going to take the sentence out            06:08PM


24   that's in blue about establishing damages by a preponderance of            06:08PM


25   the evidence.                                                              06:08PM




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 1                   The paragraph that you have at the end about                06:08PM


 2   damages, that's in the general instructions already.         I'm on         06:08PM


 3   page twenty-five:    If you decide to award compensatory.                   06:08PM


 4              MR. HASENKAMPF:   Correct.                                       06:08PM


 5              THE COURT:   I think both of those paragraphs are in the         06:08PM


 6   general damages.                                                            06:09PM


 7              MR. HASENKAMPF:   Yes.                                           06:09PM


 8              THE COURT:   So I think those can come out.                      06:09PM


 9                   But you know what?      Is there something that talks       06:09PM


10   about what damages you can recover?                                         06:09PM


11              MR. HASENKAMPF:   The grey language on page twenty-four.         06:09PM


12              THE COURT:   And the blue.    Okay.   So I'll have to look       06:09PM


13   at that.                                                                    06:09PM


14                   And then, the verdict form, you did that in three           06:09PM


15   different ones also.                                                        06:09PM


16              MR. HASENKAMPF:   Correct.                                       06:09PM


17              THE COURT:   And is this one on the verdict form you've          06:09PM


18   got clear and convincing, and that's what you had in the                    06:09PM


19   instructions.    So those are right and match.                              06:09PM


20              MR. HASENKAMPF:   Yes.                                           06:09PM


21              THE COURT:   And you're going to do the same thing about         06:09PM


22   next claim on page blank, you're going to make all that happen              06:10PM


23   consistent.                                                                 06:10PM


24                   Four is in red:     If you found that Burnett               06:10PM


25   breached his fiduciary duty, do you find that Signal authorized             06:10PM




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 1   or ratified the conduct.                                                    06:10PM


 2                    Who wants that language?                                   06:10PM


 3               MR. CERNIGLIA:    You can take that out, Your Honor.            06:10PM


 4               THE COURT:   So we're going to take --                          06:10PM


 5               MR. CERNIGLIA:    I think that would be a factual               06:10PM


 6   question as to whether there was a breach or not.                           06:10PM


 7               THE COURT:   Because this is breach of fiduciary duty           06:10PM


 8   against Malvern Burnett.      So what's whether Signal ratified it          06:10PM


 9   or not --                                                                   06:10PM


10               MR. CERNIGLIA:    If the act that constitutes the alleged       06:10PM


11   breach was ratified.                                                        06:10PM


12                    But I think it's a factual question for the jury.          06:10PM


13               THE COURT:   Okay.   So you would say well, if that             06:10PM


14   happened, he didn't breach his duty, is what you're arguing.                06:11PM


15               MR. CERNIGLIA:    Right.   So it doesn't need to be in          06:11PM


16   there.                                                                      06:11PM


17               THE COURT:   So you're going to take four out on each           06:11PM


18   one.   All right.                                                           06:11PM


19                    And then, three, the instruction for cross claim           06:11PM


20   three, malpractice.                                                         06:11PM


21                    Is this another one where you have to say that             06:11PM


22   Signal alleges that Burnett had a duty of care and breached it?             06:11PM


23   You know, like you did the fiduciary duty?                                  06:12PM


24               MR. HASENKAMPF:   I don't think so.                             06:12PM


25               MR. CERNIGLIA:    This is fine.   Like I said, alleges          06:12PM




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 1   breach of duty of care.                                                       06:12PM


 2               THE COURT:    How about breached its duty of care?                06:12PM


 3                    I think you've got to get in there is it's                   06:12PM


 4   attorney.    Alleges Burnett breached his duty of care as attorney            06:12PM


 5   or something.     This doesn't really -- you know, I think -- work            06:12PM


 6   on that.    That bothers me somehow.     Add attorney somewhere.              06:12PM


 7                    All right, so then don't we need the sentence that           06:13PM


 8   says:    To recover, Signal has to prove by a preponderance of the            06:13PM


 9   evidence.                                                                     06:13PM


10               MR. HASENKAMPF:    Yes.   And we had that, and I don't            06:13PM


11   object to that.    That, that is for the entire paragraph.                    06:13PM


12               THE COURT:    Okay.   So that -- I think that would go            06:13PM


13   first.   I mean, that would be the second paragraph.                          06:13PM


14                    And then so what's -- who wanted the third -- Tim,           06:13PM


15   did you want that?       Wouldn't that go under the --                        06:13PM


16               MR. CERNIGLIA:    Yeah, I think that should go under --           06:13PM


17               THE COURT:    So we'll move those.                                06:13PM


18               MR. CERNIGLIA:    The one that says:       Attorney owes a        06:13PM


19   duty to act with the same knowledge, skill and acts, and then                 06:13PM


20   what legal malpractice is.                                                    06:13PM


21                    But I don't know what the next thing is.         It's so     06:13PM


22   hard for me to read this when put in red.        When you're                  06:13PM


23   colorblind, it all seems one color.                                           06:14PM


24               THE COURT:    You all have to put it in another color for         06:14PM


25   Tim.                                                                          06:14PM




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 1              MR. CERNIGLIA:    I don't think you need this thing about        06:14PM


 2   negligence -- negligent.     We just talked about the duty above;           06:14PM


 3   right?                                                                      06:14PM


 4              THE COURT:   I guess that is, failing to do that is              06:14PM


 5   negligence.                                                                 06:14PM


 6              MR. CERNIGLIA:    Right.                                         06:14PM


 7              MR. HASENKAMPF:   I just think, duty of care, that there         06:14PM


 8   should be some flesh to it, since I borrowed stock language from            06:14PM


 9   the pattern instructions.                                                   06:14PM


10              MR. CERNIGLIA:    I don't have a problem with it if you          06:14PM


11   want to put it second in there.                                             06:14PM


12              THE COURT:   Okay, so we're going to put that in there.          06:14PM


13                   Let's see what the verdict form looks like.                 06:14PM


14                   I think I asked you yesterday whether there was             06:15PM


15   language about did we need an instruction about what the                    06:15PM


16   community is?    And I can't remember.                                      06:15PM


17              MR. HASENKAMPF:   I can add that.                                06:15PM


18              THE COURT:   Look to see if that's something that's              06:15PM


19   defined.   Like I know, with doctors, it is.                                06:15PM


20              MR. WEINBERGER:   Absolutely.                                    06:15PM


21              THE COURT:   And so it might be with lawyers.                    06:15PM


22              MR. SHAPIRO:   I wonder if it's a community or                   06:15PM


23   nationwide?                                                                 06:15PM


24              MR. WEINBERGER:   Local or -- local or national is               06:15PM


25   usually what is asked in medical malpractice.                               06:15PM




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 1               THE COURT:   So you all look at that.                             06:15PM


 2                    All right, cross claim 4, breach of contract.                06:16PM


 3               MR. HASENKAMPF:   There was a pretty significant change           06:16PM


 4   in this one in response to what the plaintiffs submitted.          But        06:16PM


 5   because we have very similar claims --                                        06:16PM


 6               MR. SANDLER:   And, Your Honor, for breach of contract,           06:16PM


 7   we thought that, if it would be all right, one of plaintiffs'                 06:16PM


 8   counsel would take part in the discussion.         Because it's the           06:16PM


 9   same --                                                                       06:16PM


10               THE COURT:   Well, I wondered about that.     We wouldn't         06:16PM


11   want to tell them one thing under one and something under the                 06:16PM


12   other.                                                                        06:16PM


13               MR. SANDLER:   And so Meredith Stewart will go.                   06:16PM


14               MR. HASENKAMPF:   I like most of their product.                   06:16PM


15                    Towards the end, there is some stuff that gets               06:16PM


16   into agency and plaintiffs' specific claims.                                  06:17PM


17                    But, for the most part, I took what they did.         The    06:17PM


18   vast majority of it is the same as what we did.                               06:17PM


19                    But I think, with respect to their quasi-contract            06:17PM


20   claims, I think they did that better than I had.         So I collapsed       06:17PM


21   that into the cross claim 4 as contract and quasi contract.                   06:17PM


22               MR. CERNIGLIA:    Here's the thing that's confusing,              06:17PM


23   though.   It's the attorney-client contract you're alleging is                06:17PM


24   breached.    So, if you found the claim on two different causes of            06:17PM


25   action for the same act, I don't think that's right.         If the           06:17PM




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 1   contract you're alleging is breached is the attorney-client                   06:17PM


 2   contract, then --                                                             06:17PM


 3              THE COURT:   Is that the same as malpractice?                      06:17PM


 4              MR. CERNIGLIA:    That's the same as malpractice.                  06:17PM


 5              MR. HASENKAMPF:   I think there's a pretty -- a                    06:17PM


 6   meritorious claim argument that the only contract -- or the                   06:17PM


 7   first contract between Burnett and Signal was in December of                  06:18PM


 8   2006.                                                                         06:18PM


 9                   We believe there were obligations from such, and              06:18PM


10   arguably a contract.     But, to the extent one of the contract               06:18PM


11   elements, such as an offer, acceptance or consideration, were                 06:18PM


12   not met, we believe those promises should be enforced via                     06:18PM


13   promissory estoppel.                                                          06:18PM


14              THE COURT:   So you're saying he breached it by                    06:18PM


15   committing malpractice.                                                       06:18PM


16                   And what was the malpractice?          What was it?   That    06:18PM


17   reasonable standard of care as to what?                                       06:18PM


18              MR. HASENKAMPF:   As to informing Signal on immigration            06:18PM


19   matters.                                                                      06:18PM


20              THE COURT:   But isn't that the same thing that was the            06:18PM


21   subject of the contract?     I mean, what's the difference between            06:18PM


22   what he did when he breached the contract that was different                  06:18PM


23   from what he did when he committed malpractice?           Kind of like a      06:18PM


24   special kind of contract, it's not just a contract -- I don't                 06:19PM


25   know.   All breaches of contract are torts.                                   06:19PM




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 1             MR. HASENKAMPF:    Right.                                              06:19PM


 2             THE COURT:    Because it's a wrongful act.                             06:19PM


 3             MR. HASENKAMPF:    We think the obligations would be                   06:19PM


 4   limited to what comes from the Global relationship.         And I think          06:19PM


 5   the starting point would be the April of 2006 Global agreement                   06:19PM


 6   that says -- that first says:      Global will provide you an                    06:19PM


 7   immigration attorney.     And to the extent that provides                        06:19PM


 8   obligations on an immigration attorney to Signal which were --                   06:19PM


 9   which the parties later acknowledged.                                            06:19PM


10             THE COURT:    Was there a contract between Signal and                  06:19PM


11   Burnett for legal services?                                                      06:19PM


12             MR. HASENKAMPF:    Not until December of 2006.                         06:19PM


13             THE COURT:    But, before December 2006, he was actually               06:19PM


14   providing services to you?                                                       06:19PM


15             MR. CERNIGLIA:    They were providing services under the               06:20PM


16   global agreement, which would be the fiduciary duty aspect.                      06:20PM


17             MR. SHAPIRO:    Not only that; but, if I understood Mitch              06:20PM


18   correctly last evening, the third-party beneficiary claim is                     06:20PM


19   gone.                                                                            06:20PM


20                   So, to the extent that Signal is claiming any kind               06:20PM


21   of third-party beneficiary as a result of Pol's contract with                    06:20PM


22   them, that claim is gone.                                                        06:20PM


23             THE COURT:    But you're saying that he had a duty.          If        06:20PM


24   he was providing legal services to you, no matter what mechanism                 06:20PM


25   it was through, he had a professional responsibility?                            06:20PM




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 1               MR. HASENKAMPF:   Absolutely.    We think there was an           06:20PM


 2   attorney-client relationship which relates to the fiduciary duty             06:20PM


 3   claim and the malpractice.                                                   06:20PM


 4               THE COURT:   So Count 4 is before 2006?        And Count 3 is    06:20PM


 5   after?   Because you're saying that only -- once you had a                   06:20PM


 6   contract with him, if he breached it, that seems like the same               06:20PM


 7   claim to me as the malpractice claim.                                        06:21PM


 8               MR. HASENKAMPF:   Correct.                                       06:21PM


 9               THE COURT:   And you're saying, well, but I need to              06:21PM


10   get what happened before 2006 through Global, and we didn't have             06:21PM


11   a contract then; but I still think he had a responsibility to                06:21PM


12   me ...                                                                       06:21PM


13               MR. HASENKAMPF:   Right.   And we do think there were            06:21PM


14   promises.                                                                    06:21PM


15               THE COURT:   How is this different?        How is this           06:21PM


16   responsibility different before or after December 2006?                      06:21PM


17               MR. HASENKAMPF:   I think the malpractice claim is               06:21PM


18   broader.    I think the duty of care with respect --                         06:21PM


19               THE COURT:   Well, is Burnett claiming that there's a            06:21PM


20   difference in his obligation with respect to Signal before or                06:21PM


21   after December 2006?                                                         06:21PM


22               MR. CERNIGLIA:    No.                                            06:21PM


23               MR. SANDLER:   And, Your Honor, I think I can maybe              06:21PM


24   help.    I've asked Burnett about this in a deposition because I             06:21PM


25   didn't understand it either.                                                 06:21PM




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 1                    And what happened was, when Pol was fired at the           06:21PM


 2   end of November 2006, that underlying contract disintegrated.               06:21PM


 3   Burnett's insurer said:       Wait, if you're going to continue with        06:21PM


 4   Signal you need a direct contract with Signal.                              06:22PM


 5                    So what I took from that is that Burnett's                 06:22PM


 6   insurer, malpractice or whatever insurer he had, understood the             06:22PM


 7   Global contract to be the contractual relationship that Burnett             06:22PM


 8   had with Signal.    And then, subsequent to Pol falling out, that           06:22PM


 9   contract disintegrated.                                                     06:22PM


10               THE COURT:   So it was more like an insurance                   06:22PM


11   requirement than really having anything to do with Burnett's                06:22PM


12   obligation to Signal?                                                       06:22PM


13               MR. SANDLER:   That's what Burnett said in his                  06:22PM


14   deposition.                                                                 06:22PM


15               MR. CERNIGLIA:    I think the obligation is the same.           06:22PM


16               THE COURT:   I don't understand what you're getting at.         06:22PM


17   You think that malpractice is broader than the contract?          And I     06:22PM


18   I'm telling you, I think it's malpractice the whole time.                   06:22PM


19               MR. HASENKAMPF:    It's difficult to imagine something          06:22PM


20   that would be a breach of contract on behalf of Burnett that                06:22PM


21   would not be malpractice.                                                   06:22PM


22               THE COURT:   So this is what we're going to do:      You're     06:22PM


23   going to collapse that into one malpractice claim against                   06:22PM


24   Burnett for the whole time, and we're taking out breach of                  06:23PM


25   contract.                                                                   06:23PM




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 1                    That's going to make it simpler and better.                06:23PM


 2             MS. STEWART:    So, Your Honor, we can discuss our breach         06:23PM


 3   of contract, since they're removing theirs?                                 06:23PM


 4             THE COURT:     Right.                                             06:23PM


 5                    Breach of contract, Dewan.     What number is -- what      06:23PM


 6   claim is that?    You had breach of contract against Burnett and            06:23PM


 7   Dewan?                                                                      06:23PM


 8             MR. HASENKAMPF:     Yeah.                                         06:23PM


 9             THE COURT:     Because you had -- oh, well, we still do           06:23PM


10   have a breach of contract claim.       It's just against -- Meredith,       06:23PM


11   I spoke too soon.    We do have a breach of contract claim just             06:23PM


12   against Sachin Dewan.     So that's going to be claim 4.                    06:23PM


13                    Okay.   So the language with the document you gave         06:24PM


14   me today, the instructions, you modeled on what the plaintiffs              06:24PM


15   had proposed?                                                               06:24PM


16             MR. HASENKAMPF:     Yes.                                          06:24PM


17             THE COURT:     And have the other -- has everyone else            06:24PM


18   looked at it?                                                               06:24PM


19             MR. SHAPIRO:    I haven't gotten a copy of it yet.                06:24PM


20             MR. HASENKAMPF:     This was filed late.                          06:24PM


21                    I took any objections the cross claim defendants           06:24PM


22   made to the plaintiffs' and copied them here, assuming they                 06:24PM


23   would be the same.                                                          06:24PM


24             THE COURT:     So it's basically the same as what you saw         06:24PM


25   from the plaintiffs, and he incorporated your objections.                   06:24PM




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 1                    Do you have copies now of what I'm looking at?                06:24PM


 2               MR. SHAPIRO:    I think so.   Breach of contract and quasi         06:24PM


 3   contract.                                                                      06:24PM


 4               THE COURT:   So now the first paragraph will be:       Signal      06:24PM


 5   alleges a breach of contract by Sachin Dewan and Dewan                         06:24PM


 6   Consultants.                                                                   06:25PM


 7                    Where's the:    To recover, Signal has to prove by a          06:25PM


 8   preponderance of the evidence language?                                        06:25PM


 9                    Okay.     So I see it on the next page, on page               06:25PM


10   twenty-eight, the third or fourth paragraph:           To establish a          06:25PM


11   breach of contract, Signal has the burden of proving by a                      06:25PM


12   preponderance of the evidence:       one, two, three.                          06:25PM


13                    So we're going to move that to the top.                       06:25PM


14                    (Discussion held off the record.)                             06:25PM


15               THE COURT:   So the page numbers might not match yours,            06:26PM


16   Steve, because they were printed at two different times.                       06:26PM


17                    But it's claim 4, breach of contract.        You found        06:26PM


18   it?                                                                            06:26PM


19               MR. SHAPIRO:    I have it now, Your Honor.                         06:26PM


20               THE COURT:   So the first paragraph is just going to say           06:26PM


21   Dewan.                                                                         06:26PM


22                    The second paragraph is going to be:        To establish      06:26PM


23   a breach of contract, Signal has the burden of proving by a                    06:26PM


24   preponderance of the evidence:       One, two, three.                          06:26PM


25                    Then we're going to go into the definitions.                  06:26PM




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 1                    And then we've got some language in green.                     06:26PM


 2                    What's that issue?                                             06:26PM


 3               MR. SHAPIRO:   I'll let Mitch speak to that.                        06:26PM


 4               MR. HASENKAMPF:   This is new language.       This is catered       06:26PM


 5   to Signal's claims.      Plaintiffs have very similar language.        I        06:27PM


 6   marked that as green just as something --                                       06:27PM


 7               THE COURT:   So it's based on the plaintiff?                        06:27PM


 8               MR. HASENKAMPF:   Yes.                                              06:27PM


 9               THE COURT:   And what's the issue?                                  06:27PM


10               MR. HASENKAMPF:   We are collapsing the promissory                  06:27PM


11   estoppel claim into breach of contract.        To say that, if the              06:27PM


12   breach of contract claim fails for lack of consideration or                     06:27PM


13   offer-acceptance, there may still be --                                         06:27PM


14               THE COURT:   That's the blue; right?       Isn't that -- I'm        06:27PM


15   looking at the green.                                                           06:27PM


16                    Oh, that's where you're getting to the quasi                   06:27PM


17   contract.                                                                       06:27PM


18               MR. HASENKAMPF:   Right.   Blue is alternative language.            06:27PM


19               THE COURT:   And, Mitch, you proposed the green.                    06:27PM


20                    And the blue came from where?                                  06:27PM


21               MR. HASENKAMPF:   The blue came directly from                       06:27PM


22   plaintiffs' proposal, which already had been objected to.          So I         06:27PM


23   wanted to preserve the objection.                                               06:28PM


24               THE COURT:   What was the basis of the objection by -- I            06:28PM


25   guess it's just Dewan now.                                                      06:28PM




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 1             MR. SHAPIRO:    The objection -- well, I'm still                      06:28PM


 2   struggling with the notion of how a defense to a defense can be                 06:28PM


 3   a cause of action at all.       So I'm still quite confused about               06:28PM


 4   that.                                                                           06:28PM


 5                   And I think you pled -- Signal pled this under                  06:28PM


 6   Louisiana law as a cross claim.      Never amended.                             06:28PM


 7                   And, if you're saying that promissory estoppel                  06:28PM


 8   somehow either as a defense applies as a claim, I still don't                   06:28PM


 9   know how that can possibly be.                                                  06:28PM


10             THE COURT:    So this is in your language also?                       06:28PM


11             MS. STEWART:    Yes, Your Honor.                                      06:29PM


12                   And I can address Dewan's and Burnett's objection               06:29PM


13   on that point, if you would like.                                               06:29PM


14             THE COURT:    Yeah.                                                   06:29PM


15             MS. STEWART:    Or Mr. Hasenkampf.                                    06:29PM


16             MR. HASENKAMPF:    You can take a shot at it.                         06:29PM


17             MS. STEWART:    So what I understand Dewan and Burnett to             06:29PM


18   be saying is that plaintiffs cannot affirmatively plead a cause                 06:29PM


19   of action for promissory estoppel under Mississippi law.                        06:29PM


20                   That's what I understood what you were arguing                  06:29PM


21   last night at the charging conference.        That is incorrect.       I        06:29PM


22   have a number of cases with me here where plaintiffs                            06:29PM


23   successfully pled promissory estoppel as an affirmative cause of                06:29PM


24   action.                                                                         06:29PM


25                   The case that were you relying on in your                       06:29PM




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 1   objection, the Thompson case, pointed out that if plaintiffs                06:29PM


 2   don't plead it affirmatively as a cause of action they can still            06:29PM


 3   raise it as a defense to the defendants' statute of frauds or no            06:29PM


 4   consideration defense to the contract.        So either one will work.      06:29PM


 5             THE COURT:    Have you got copies of the cases?                   06:29PM


 6             MS. STEWART:    I do.   I have them with me.                      06:29PM


 7             THE COURT:    Can you give those to Philip?                       06:29PM


 8                   Are you aware of the cites for those?       Do you want     06:30PM


 9   to write down the cites?                                                    06:30PM


10             MR. SHAPIRO:    I'd like to get the cites.                        06:30PM


11             MS. STEWART:    I'm happy to send them to you.                    06:30PM


12             THE COURT:    So you can read those and see if that --            06:30PM


13             MR. CERNIGLIA:    I understand there were -- there is a           06:30PM


14   clause that Mississippi Supreme Court points out on promissory              06:30PM


15   estoppel that talks about promises to do something in the                   06:30PM


16   future.                                                                     06:30PM


17             MS. STEWART:    Yeah.   And that was the second objection         06:30PM


18   that you had to the promissory estoppel language.         The first one     06:30PM


19   related to whether the plaintiffs can --                                    06:30PM


20             MR. CERNIGLIA:    As I recall, it was the promissory              06:30PM


21   estopped and equitable estoppel are two included as part of the             06:30PM


22   affirmative defense with a similar name.        It's the similar names      06:30PM


23   that they pled as a cause of action, detrimental reliance.                  06:31PM


24   Detrimental reliance.     That's what I think it would be.       I'm        06:31PM


25   getting so confused now.                                                    06:31PM




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 1               MS. STEWART:   Yes.   They did plead detrimental                  06:31PM


 2   reliance.                                                                     06:31PM


 3                    But I think what Mr. Hasenkampf has said, they're            06:31PM


 4   now pleading an alternative or folding it into their contract                 06:31PM


 5   claim.                                                                        06:31PM


 6                    But, yes, detrimental reliance under Mississippi             06:31PM


 7   law is an element for the promissory estoppel.                                06:31PM


 8               THE COURT:   So should there be two different claims?             06:31PM


 9               MR. HASENKAMPF:    Initially, we had set them up as two           06:31PM


10   different cross claims.       But, like I said, I think the                   06:31PM


11   detrimental reliance/promissory estoppel language fits better                 06:31PM


12   with the breach of contract claim.       I think it's clearer.                06:31PM


13                    And, as we discussed last night, at least my first           06:31PM


14   draft was not very clear, and that was taken from the case law.               06:31PM


15   And I think, when we present it in the same section as                        06:31PM


16   offer/acceptance consideration and then after considering the                 06:32PM


17   elements of breach of contract, say, if presented as if you find              06:32PM


18   that the contract fails for some reason you can still find                    06:32PM


19   liability if you find these things.                                           06:32PM


20               THE COURT:   And that's the way you've proposed it?               06:32PM


21               MR. HASENKAMPF:    Yes.                                           06:32PM


22               MR. SHAPIRO:   If you find reasonableness or you find             06:32PM


23   reliance?    I didn't get what you just said.          If the contract        06:32PM


24   fails, then what?                                                             06:32PM


25               MR. HASENKAMPF:    You can still find liability under a           06:32PM




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 1   promissory estoppel theory.                                                 06:32PM


 2             MR. SHAPIRO:    In other words, similar to detrimental            06:32PM


 3   reliance in the sense that there is a statement made that                   06:32PM


 4   someone else relied on to their detriment.                                  06:32PM


 5                   And, if Meredith is correct in the cases, in other          06:32PM


 6   words, the Supreme Court case in Mississippi that says something            06:32PM


 7   like promissory estoppel is most definitely a valid affirmative             06:32PM


 8   claim.                                                                      06:33PM


 9             MS. STEWART:    Yes.                                              06:33PM


10             MR. SHAPIRO:    Okay.   Well, then, if that's the case, I         06:33PM


11   can't compete with that.     If that's the law, then that's the             06:33PM


12   law.                                                                        06:33PM


13             THE COURT:    Go ahead.                                           06:33PM


14             MR. CERNIGLIA:    I was going to say, I want to make sure         06:33PM


15   there is still the language that I have in there of future.                 06:33PM


16             MR. HASENKAMPF:    In plaintiffs' version, you still have         06:33PM


17   an objection?                                                               06:33PM


18                   I withdraw my objection to that language, I                 06:33PM


19   verified the cite.                                                          06:33PM


20             MR. SHAPIRO:    With respect to Dewan, it is my                   06:33PM


21   understanding that the contract at issue with Signal or the                 06:33PM


22   alleged contract is a Power of Attorney?                                    06:33PM


23                   So how is that going to be dealt with in argument?          06:33PM


24   Or does that need to be dealt with in the instructions?                     06:33PM


25             THE COURT:    So the beach of contract against Dewan is           06:33PM




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 1   this Power of Attorney.                                                     06:34PM


 2                   And do you have instructions in Section 4 about             06:34PM


 3   the Power of Attorney?                                                      06:34PM


 4             MR. HASENKAMPF:    We tried to avoid very                         06:34PM


 5   specific claim-specific language, because that having been                  06:34PM


 6   construed as argumentative previously.        So we tried to be             06:34PM


 7   generic with --                                                             06:34PM


 8             THE COURT:    You know what?    I think, though, in that          06:34PM


 9   first paragraph under claim 4, breach of contract, you should               06:34PM


10   say something about that Signal alleges that Dewan -- that it               06:34PM


11   executed a power of attorney in favor of Dewan, and that he                 06:34PM


12   breached the terms of that agreement.        So there's something           06:34PM


13   about what you're talking about.                                            06:34PM


14             MR. SHAPIRO:    I think, as a follow-up to that, one              06:34PM


15   thing that's critical, I think in Mississippi -- not so in                  06:34PM


16   Louisiana -- what we had called as opposed to a consideration,              06:34PM


17   maybe a definition about what consideration means.                          06:35PM


18                   I think you might put it in there, something of             06:35PM


19   value.                                                                      06:35PM


20             THE COURT:    Consideration is a benefit received or              06:35PM


21   something given in order to form the contract; does not have to             06:35PM


22   be money, but must be a value.                                              06:35PM


23                   So there is something in there.                             06:35PM


24             MR. SHAPIRO:    I searched when I was just looking at             06:35PM


25   Louisiana law on this.     I was hard pressed to find a single case         06:35PM




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 1   that say Power of Attorney is a contract.                                   06:35PM


 2               THE COURT:   Let me ask you, so if you think it's not in        06:35PM


 3   Mississippi, then you have to say that.        And talk to Mitch about      06:35PM


 4   it.                                                                         06:35PM


 5                    The green and the blue.     The green is, Mitch,           06:35PM


 6   you've proposed that based on the plaintiffs' language.          And the    06:35PM


 7   blue is what Dewan and Burnett want?       I'm confused.                    06:35PM


 8               MR. HASENKAMPF:   That was my understanding, is that's          06:35PM


 9   how I identified it, yes.                                                   06:35PM


10               MR. CERNIGLIA:    Yes.                                          06:36PM


11               THE COURT:   But now Burnett is not a defendant in this,        06:36PM


12   under this claim.                                                           06:36PM


13               MR. HASENKAMPF:   Correct.   It would only be Dewan.            06:36PM


14               THE COURT:   Because we're just going under malpractice.        06:36PM


15               MR. SHAPIRO:   It looks like detrimental reliance asks a        06:36PM


16   different species, I guess.      I don't know.                              06:36PM


17               THE COURT:   All right.                                         06:36PM


18               MS. STEWART:   One thing, Your Honor.      Plaintiffs --        06:36PM


19   just to give -- Burnett and Dewan also submitted the same                   06:36PM


20   objection to our jury instruction on breach of contract about               06:36PM


21   the future acts and their alternative promissory estoppel                   06:36PM


22   language.    And we object to that and would stick with our                 06:36PM


23   original language, which Signal adopted from our jury                       06:36PM


24   instruction.                                                                06:36PM


25               THE COURT:   Where is the future language?                      06:36PM




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 1             MS. STEWART:    It's written in blue.                             06:36PM


 2             MR. CERNIGLIA:    Blue on twenty-nine.                            06:36PM


 3             THE COURT:    Well, that's what I keep asking you all, is         06:37PM


 4   the blue from Dewan and Burnett?       I thought you said it was.           06:37PM


 5             MS. STEWART:    Yes.                                              06:37PM


 6             THE COURT:    They put it in, and you object.                     06:37PM


 7             MS. STEWART:    They put that in as an alternative                06:37PM


 8   language to plaintiffs' and Signal's.                                       06:37PM


 9             THE COURT:    Is it a true statement of intention with            06:37PM


10   respect to a party with respect to a future act?         That's the         06:37PM


11   issue?                                                                      06:37PM


12             MS. STEWART:    Yes.                                              06:37PM


13             THE COURT:    Where did that come from?                           06:37PM


14             MR. CERNIGLIA:    That came from several Mississippi              06:37PM


15   Supreme Court cases.     I don't see in here that I sent them.              06:37PM


16             THE COURT:    And --                                              06:37PM


17             MR. CERNIGLIA:    That's an essential part of equitable           06:37PM


18   estoppel in Mississippi.                                                    06:37PM


19             THE COURT:    So how is equitable estoppel included in            06:37PM


20   the contract now?                                                           06:37PM


21             MR. HASENKAMPF:    We're not alleging equitable estoppel.         06:37PM


22   We don't think that language was appropriate.                               06:37PM


23                   There is some language right below that of where            06:38PM


24   it is performable on a future date.       We dropped our objection to       06:38PM


25   that, and that's the future language that I thought we were                 06:38PM




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 1   discussing.                                                                 06:38PM


 2             THE COURT:    Because a party can't be precluded from             06:38PM


 3   changing his intention in the future?        That's what you don't          06:38PM


 4   object to?                                                                  06:38PM


 5             MR. HASENKAMPF:    That's correct.     The citation               06:38PM


 6   supported that.                                                             06:38PM


 7             THE COURT:    So you don't object to that part.       It's the    06:38PM


 8   next --                                                                     06:38PM


 9             MR. HASENKAMPF:    Right above that equitable estoppel            06:38PM


10   paragraph.    We don't think equitable estoppel is at issue.                06:38PM


11             MR. CERNIGLIA:    Well, the thing is, it's the                    06:38PM


12   language --                                                                 06:38PM


13             THE COURT:    I cannot understand what you all are                06:38PM


14   saying.                                                                     06:38PM


15                   The equitable estoppel that I was reading:        A         06:38PM


16   party cannot be precluded from changing his intention in the                06:38PM


17   future, that's in blue.     So do you agree to that right there,            06:38PM


18   that's circled in blue, right below the green?                              06:38PM


19             MR. HASENKAMPF:    No.                                            06:38PM


20             THE COURT:    And what is it you said you agreed with?            06:39PM


21             MR. HASENKAMPF:    We agree with the green and we agree           06:39PM


22   with the however.                                                           06:39PM


23             THE COURT:    Where is equitable -- the reliance, are you         06:39PM


24   saying in green, is it just says reasonably relying?         So that's      06:39PM


25   your detrimental reliance and equitable estoppel.                           06:39PM




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 1             MR. HASENKAMPF:    Detrimental reliance, promissory               06:39PM


 2   estoppel, yes.                                                              06:39PM


 3             THE COURT:    Those two words.                                    06:39PM


 4             MR. HASENKAMPF:    The elements that there's no valid             06:39PM


 5   contract; there was reliance on promises; that there was breach             06:39PM


 6   of those promises; and the good conscience -- if you find in                06:39PM


 7   good conscience that this would be -- the losses from those                 06:39PM


 8   promises should be recuperated by Signal, then you may find.                06:40PM


 9                    There's nothing in the detrimental reliance case           06:40PM


10   law that says that you have to find liability or you have to                06:40PM


11   assess damages.                                                             06:40PM


12             THE COURT:    So this is without a contract.                      06:40PM


13             MR. HASENKAMPF:    Correct.                                       06:40PM


14             THE COURT:    So it's not breach of contract.                     06:40PM


15             MR. HASENKAMPF:    Correct.    It's a quasi contract.             06:40PM


16             THE COURT:    So don't we have to put breach of contract          06:40PM


17   and quasi contract on the claim form so it's not -- oh, you did.            06:40PM


18   Okay.                                                                       06:40PM


19                    Then, back up here you're saying:      To establish a      06:40PM


20   breach of contract, Signal has the burden -- and maybe the green            06:40PM


21   should be the next paragraph.      First.    You say:   To establish a      06:40PM


22   breach, they prove this.     I guess then you could give the                06:41PM


23   definitions that go with that.                                              06:41PM


24                    And then you'd have to say:     If there was no valid      06:41PM


25   contract, Signal may recover -- to recover, Signal has to prove             06:41PM




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 1   by a preponderance of the evidence that ...                                      06:41PM


 2                   This is another one of those.                                    06:41PM


 3                   And you need to say quasi contract somewhere so                  06:41PM


 4   that they understand that's a breach of contract.                                06:41PM


 5                   So you're not -- you're saying, Mitch, either                    06:41PM


 6   there's no equitable estoppel in Mississippi as a cause of                       06:42PM


 7   action; or, if there is, you're not pursuing it?                                 06:42PM


 8             MR. HASENKAMPF:    Correct.                                            06:42PM


 9                   But we don't think that language assists in our                  06:42PM


10   theory or assists in instructing the Court.                                      06:42PM


11             THE COURT:    So you're not trying to recover under                    06:42PM


12   equitable estoppel.     I mean, it's a --                                        06:42PM


13                   And do the Dewan and Burnett think that equitable                06:42PM


14   estoppel is a defense to detrimental reliance?                                   06:42PM


15             MR. CERNIGLIA:    The Mississippi case law says that                   06:42PM


16   equitable estoppel and promissory estoppel are both parts of                     06:42PM


17   detrimental reliance.                                                            06:42PM


18                   But, specifically, as to -- this is from two                     06:42PM


19   Mississippi Supreme Court cases, and I'm trying to find them.               I    06:42PM


20   have sent him the cites; I don't have them with me.                              06:42PM


21                   But the Mississippi Supreme Court says that:           In        06:42PM


22   order to establish the existence of promissory estoppel under                    06:43PM


23   Mississippi law, it is essential that the representation relied                  06:43PM


24   upon must relate to a present intention or purpose of the party                  06:43PM


25   to be estopped.    Because a party cannot be precluded from                      06:43PM




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 1   changing his intention in the future.                                       06:43PM


 2                   And it went on to explain that:        This well-settled    06:43PM


 3   rule is that a true statement as to the present intention of a              06:43PM


 4   party with regard to his future act is not the foundation upon              06:43PM


 5   which an estoppel may be built.                                             06:43PM


 6             THE COURT:    So what's the statement that Signal relied          06:43PM


 7   on?                                                                         06:43PM


 8             MR. CERNIGLIA:    I don't know what they claim they               06:43PM


 9   relied on.   I haven't heard any testimony.                                 06:43PM


10                   And this, Your Honor, is not any different                  06:43PM


11   actually than the Fifth Circuit decision on --                              06:43PM


12             THE COURT:    I guess, first, what were the promises?             06:43PM


13             MR. HASENKAMPF:    This is Dewan.                                 06:44PM


14             THE COURT:    Yes, Dewan.    What were the promises?              06:44PM


15                   Mitch, what were the promises?                              06:44PM


16             MR. SHAPIRO:    I'll let Mitch speak to that.                     06:44PM


17             MR. HASENKAMPF:    We are alleging that the recruitment           06:44PM


18   of H-2B workers was done unlawfully and done so in a manner that            06:44PM


19   was --                                                                      06:44PM


20             THE COURT:    So what was the promise?                            06:44PM


21             MR. HASENKAMPF:    That they would act lawfully.       That is    06:44PM


22   actually in the Power of Attorney.                                          06:44PM


23             THE COURT:    So why -- if it's in the Power of Attorney,         06:44PM


24   don't you have a contract?      Why do you need this?     What is it        06:44PM


25   that's not in the contract?                                                 06:44PM




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 1               MR. SHAPIRO:   It's also not a promise, the Power of            06:44PM


 2   Attorney.                                                                   06:44PM


 3               MR. HASENKAMPF:   The promissory estoppel theory applied        06:44PM


 4   much more to Burnett.      And I do think we can probably back off          06:44PM


 5   of that if we're only looking at Dewan.                                     06:44PM


 6               THE COURT:   So, think about that, whether you want to          06:44PM


 7   pursue that or not.                                                         06:44PM


 8                    And then, when I look at the jury verdict form --          06:45PM


 9               MS. STEWART:   You are -- just before we move on, I want        06:45PM


10   to talk about the paragraph on page twenty-eight that starts:               06:45PM


11   However, where a contract is performable on the occurrence of               06:45PM


12   future events.    That was language submitted by Burnett and                06:45PM


13   Dewan, which Signal has accepted, but plaintiffs still disagree             06:45PM


14   with that language and think it's inappropriate for the jury                06:45PM


15   instruction on breach of contract.                                          06:45PM


16                    For one, the reason why we have almost full                06:45PM


17   agreement from Signal, at least, on the breach of contract jury             06:45PM


18   instruction is, it's taken entirely almost verbatim from the                06:45PM


19   Mississippi model instructions.                                             06:45PM


20                    That language about performance being conditioned          06:45PM


21   on a future event appears no where in the model instructions.               06:45PM


22                    Secondly, the contract that plaintiffs are trying          06:45PM


23   to enforce isn't or wasn't ever -- performance of the contract              06:45PM


24   was never conditioned on the occurrence of a future event.                  06:46PM


25                    We think this language refers to a different type          06:46PM




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 1   of contract, where there's a contingency that didn't exist in                 06:46PM


 2   the contract that plaintiffs are attempting to enforce.                       06:46PM


 3                   So we disagree with that language and don't think             06:46PM


 4   it should be in our breach of contract jury instruction.                      06:46PM


 5             MR. SHAPIRO:    Here's where I'm getting very confused.             06:46PM


 6   It was my understanding that the newest version of the expert                 06:46PM


 7   report was submitted on India law.       Am I correct about that?             06:46PM


 8             THE COURT:    Just on fraud and negligent                           06:46PM


 9   misrepresentation.                                                            06:46PM


10             MR. SHAPIRO:    Okay.   Well, that -- so are plaintiffs             06:46PM


11   alleging that Dewan breached a contract that would be governed                06:46PM


12   by Mississippi law?     And if so, what contract?                             06:46PM


13             MS. STEWART:    Yes.    Plaintiffs are alleging that the            06:46PM


14   submigration letter is a contract, and the oral promises made                 06:46PM


15   before that that were then reduced to writing to that contract.               06:46PM


16             MR. SHAPIRO:    But all that conduct occurred in India.             06:46PM


17   So why all of the sudden is Mississippi law applying to this?                 06:46PM


18             MS. GRAUNKE:    The object of the contract includes                 06:47PM


19   employment in the United States in Mississippi.                               06:47PM


20             THE COURT:    I think you all probably agreed on                    06:47PM


21   Mississippi law.                                                              06:47PM


22             MS. GRAUNKE:    That's right.    And this is briefed in a           06:47PM


23   choice of law briefing.                                                       06:47PM


24             MR. SHAPIRO:    If I'm in error, I'm confused.       Because        06:47PM


25   we have a locus for one thing and a semi-locus for another                    06:47PM




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 1   thing.                                                                      06:47PM


 2             THE COURT:    Is there an issue on any of these about             06:47PM


 3   whether it's performable on the occurrence of a future event?               06:47PM


 4   Why is this language needed?                                                06:47PM


 5             MR. CERNIGLIA:    It's especially needed in theirs.               06:47PM


 6             THE COURT:    On which one?                                       06:47PM


 7             MR. CERNIGLIA:    On the plaintiffs' claim of this                06:47PM


 8   promise of the response to them in the future.         Under                06:47PM


 9   Mississippi law, there is that -- that's an exact doctrine that             06:47PM


10   they have.                                                                  06:47PM


11             THE COURT:    When you have a contract, you can't just            06:47PM


12   change your mind.                                                           06:47PM


13             MR. CERNIGLIA:    No.   It's on a promise.     They're            06:47PM


14   talking about a promise to induce, not under the contract.                  06:48PM


15             MS. STEWART:    No.   I'm talking about the contract.             06:48PM


16   This language here applies to the breach of contract claim.                 06:48PM


17             MR. CERNIGLIA:    I agree.    That language would not apply       06:48PM


18   to a breach of contract claim.      Then you just need to have              06:48PM


19   language as to what constitutes a contract.                                 06:48PM


20             MS. STEWART:    Because this language, and the case where         06:48PM


21   you pulled it from, is a breach of contract claim.         And the          06:48PM


22   language is about a contract.                                               06:48PM


23             THE COURT:    So he's agreeing that it doesn't apply to           06:48PM


24   breach of contract.     So we are going to take it out.                     06:48PM


25                   Mitch, we're going to take it out of here.         We're    06:48PM




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 1   going to take it out here.                                                      06:48PM


 2                   Preponderance of the evidence, we've already said               06:48PM


 3   that.                                                                           06:48PM


 4                   On the verdict form, claim 4 is going to be breach              06:48PM


 5   of contract, Sachin Dewan.      There's some yellow:        Did Signal's        06:48PM


 6   conduct prevent Dewan from performing his duties?            Who wants          06:48PM


 7   that?                                                                           06:49PM


 8             MR. SHAPIRO:    That's something I had awhile back.            That   06:49PM


 9   is something that I believe fell squarely under Mississippi law,                06:49PM


10   if I'm not mistaken.     I put that in yellow.                                  06:49PM


11             THE COURT:    So what is the issue?      Is there an                  06:49PM


12   instruction about that?                                                         06:49PM


13                   Is there some allegation -- do you argue that                   06:49PM


14   Signal prevented Dewan from performing its duties?                              06:49PM


15             MR. HASENKAMPF:     I believe they do.                                06:49PM


16             THE COURT:    Well, where -- is there something in the                06:49PM


17   instructions about that?                                                        06:50PM


18             MR. HASENKAMPF:     I did not put it in the instructions.             06:50PM


19             MR. SHAPIRO:    This is not color-coded in this copy.                 06:50PM


20   This is the paragraph right here that says:            However, when a          06:50PM


21   contract is performed.                                                          06:50PM


22             THE COURT:    No.   That's something different.                       06:50PM


23             MR. SHAPIRO:    That's the future event.                              06:50PM


24             THE COURT:    So what is the conduct of Signal that                   06:50PM


25   prevented Dewan from performing his duties under the Power of                   06:50PM




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 1   Attorney?                                                                    06:50PM


 2               MR. SHAPIRO:   By subjecting the workers to forced               06:50PM


 3   labor, when that was not what Mr. Dewan's intent was.                        06:50PM


 4               THE COURT:   But that's not preventing Dewan from -- the         06:50PM


 5   promise and -- the Power of Attorney said he would act lawfully.             06:50PM


 6   And how did he act unlawfully?                                               06:50PM


 7               MR. HASENKAMPF:   Through recruiting fees.     Recruiting        06:50PM


 8   fees that --                                                                 06:50PM


 9               THE COURT:   But the recruiting fees aren't unlawful.            06:50PM


10               MR. HASENKAMPF:   They are unlawful under India law.             06:51PM


11               THE COURT:   You can't charge recruiting fees?                   06:51PM


12               MR. HASENKAMPF:   There's a limit to the amount that you         06:51PM


13   can charge.                                                                  06:51PM


14               MR. SHAPIRO:   There's also an exemption for recruitment         06:51PM


15   to the United States, is my understanding.                                   06:51PM


16               THE COURT:   So you're saying he did something unlawful          06:51PM


17   under India law that breached his Mississippi contract?                      06:51PM


18               MR. HASENKAMPF:   Yes.                                           06:51PM


19               THE COURT:   So you would have to have an instruction in         06:51PM


20   here about what it is under Indian law that makes this unlawful.             06:51PM


21                    And then you would have to have one, Steve, about           06:51PM


22   what the exception is.                                                       06:51PM


23                    You all have made this way too complicated, and I           06:51PM


24   think you're making a mistake.       I'll say that to everybody, I           06:51PM


25   think it's way too complicated.       You have too many defendants           06:51PM




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 1   and too many claims.                                                          06:51PM


 2                   You know, I know the tendency is to do that, but I            06:52PM


 3   think it's a mistake and all this just points it out.                         06:52PM


 4                   So you can't just suddenly pull in why this is                06:52PM


 5   breach of contract under Mississippi law, because he did                      06:52PM


 6   something under Indian law that was unlawful, without ever                    06:52PM


 7   saying a word about it.     I mean, what are you going to argue to            06:52PM


 8   the jury about how this is how he breached the contract?          It's        06:52PM


 9   because of Indian law.                                                        06:52PM


10                   Well, then that has to be in the instructions.                06:52PM


11   They don't know what Indian law is.                                           06:52PM


12                   And so that will probably affect this and effect              06:52PM


13   your verdict form, because it's not really the conduct                        06:52PM


14   preventing.   So, if that's it, that's how -- that's how he                   06:52PM


15   breached the Power of Attorney, it was unlawful under Indian                  06:53PM


16   law.   Does -- and your defense to that is what?        That there's an       06:53PM


17   exception.    So that needs to be in there.                                   06:53PM


18             MR. SHAPIRO:    Right.                                              06:53PM


19             THE COURT:    And then what do you put on the jury                  06:53PM


20   verdict form?    They entered a contract, Signal performed its                06:53PM


21   duties.                                                                       06:53PM


22             MR. SHAPIRO:    I think that would be for argument.                 06:53PM


23             THE COURT:    Dewan failed to perform his duties.       It's        06:53PM


24   not just as required by contract, but under Indian law.          Or is        06:53PM


25   it lawfully -- I guess you can pull it in.                                    06:53PM




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 1              MR. CERNIGLIA:    What makes it more complex -- and this             06:53PM


 2   gets to Steve's point with the Power of Attorney -- is the power                06:53PM


 3   of attorney gives Dewan the power to do anything that's lawful.                 06:53PM


 4   And -- for Signal.      And, for Signal, he did the recruiting.                 06:53PM


 5                   He's saying that Dewan did something illegal for                06:53PM


 6   him collecting fees.      That has nothing to do with Signal.                   06:54PM


 7              THE COURT:    That's a good point, too.                              06:54PM


 8              MR. HASENKAMPF:    Except to the extent that breach                  06:54PM


 9   affects Signal.                                                                 06:54PM


10              THE COURT:    Maybe if you've got a Mississippi contract             06:54PM


11   and Mississippi law, I don't know that you can say the way you                  06:54PM


12   breached it is because you did something under Indian law.             I        06:54PM


13   don't know.   I hadn't thought about that before.                               06:54PM


14                   But the other point is, what was he doing that he               06:54PM


15   was supposed to do lawfully?                                                    06:54PM


16              MR. HASENKAMPF:    Recruiting.                                       06:54PM


17              THE COURT:    But what did you really authorize him to do            06:54PM


18   for you?   To sign some documents?                                              06:54PM


19              MR. SHAPIRO:    Recruit.                                             06:54PM


20              THE COURT:    But what in particular was he supposed to              06:54PM


21   do?                                                                             06:54PM


22              MR. HASENKAMPF:    It's a little bit vague, because under            06:54PM


23   Indian law you need an exclusive recruiter.            So Michael Pol went      06:54PM


24   to Signal and said:      You need to sign this broad Power of                   06:54PM


25   Attorney for Dewan so that he can recruit on your behalf.                       06:55PM




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 1              THE COURT:   Because, in India, he had to go show                  06:55PM


 2   someone:   Yes, I have Power of Attorney for Signal.                          06:55PM


 3              MR. HASENKAMPF:   Correct.                                         06:55PM


 4              MR. SHAPIRO:   It's a requirement under Indian law for a           06:55PM


 5   demand letter and a Power of Attorney for Signal -- for Dewan to              06:55PM


 6   recruit on behalf of Signal.       That was done.                             06:55PM


 7                    The Power of Attorney is stated in the most broad            06:55PM


 8   terms possible.                                                               06:55PM


 9              THE COURT:   And he says you're supposed to recruit                06:55PM


10   lawfully under Indian law.      And you didn't.                               06:55PM


11              MR. SHAPIRO:   Right.                                              06:55PM


12              THE COURT:   So what Signal conduct prevented Dewan from           06:55PM


13   performing his duties?                                                        06:55PM


14              MR. SHAPIRO:   I see the point now, Your Honor.       And I        06:55PM


15   withdraw that.    I mean, my thought was that they actually didn't            06:55PM


16   do anything in India to prevent the recruitment process.                      06:55PM


17              THE COURT:   Detrimental reliance, where are we on that?           06:56PM


18   Since you're going on malpractice.                                            06:56PM


19              MR. HASENKAMPF:   That was collapsed.                              06:56PM


20              THE COURT:   Then indemnity.    Wait.                              06:56PM


21                    There's not detrimental reliance against Dewan,              06:56PM


22   you're going breach of contract?                                              06:56PM


23              MR. HASENKAMPF:   Correct.                                         06:56PM


24              THE COURT:   And you collapsed that.                               06:56PM


25              MR. HASENKAMPF:   Yes.                                             06:56PM




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 1               THE COURT:    All right, indemnity against Burnett.              06:56PM


 2                    Your first paragraph, that's going to make no               06:56PM


 3   sense to the jury:       Signal alleges that Burnett owes it                 06:57PM


 4   indemnity for -- at least pretend you're doing these for the                 06:57PM


 5   jury.                                                                        06:57PM


 6                    Then, where is the Signal must prove by                     06:57PM


 7   preponderance of the evidence?                                               06:57PM


 8                    So I think that's the paragraph that starts:                06:57PM


 9   Accordingly, this is what you have to prove.                                 06:57PM


10               MR. HASENKAMPF:    But this is subject to language.              06:58PM


11               THE COURT:    You need some language about what you have         06:58PM


12   to prove.                                                                    06:58PM


13               MR. HASENKAMPF:    Right.   The elements that we discussed       06:58PM


14   are only in paragraph 3, that when -- the sole element being                 06:58PM


15   when an agent exceeds his authority.                                         06:58PM


16               THE COURT:    Okay.   Well, you need to put that in that         06:58PM


17   paragraph.                                                                   06:58PM


18                    And the red language, who suggested that?                   06:58PM


19               MR. CERNIGLIA:    That's my language directly from the           06:58PM


20   Mississippi Supreme Court cases and the cases are cited.          I'm        06:58PM


21   trying to pull them up right now.                                            06:58PM


22               MR. HASENKAMPF:    Correct.   This is the dispute we             06:58PM


23   discussed last night about whether the Mississippi Supreme Court             06:58PM


24   would adopt the Restatement in this situation, and they had                  06:58PM


25   adopted a virtually identical provision in light of the same                 06:58PM




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 1   cases.                                                                         06:59PM


 2               THE COURT:   All right.   And I said, if they haven't              06:59PM


 3   done it yet, I want to go with the Supreme Court.           So I want you      06:59PM


 4   to draft it as though -- because didn't we talk last night about               06:59PM


 5   the Mississippi Supreme Court has not done it yet?                             06:59PM


 6               MR. CERNIGLIA:    He's talking about agency, and this is           06:59PM


 7   a specific -- the issue is noncontractual indemnification.                     06:59PM


 8                    In Louisiana, it has to be -- it's a question of              06:59PM


 9   passive/active.     In Mississippi, although very, very similar,               06:59PM


10   its exact language is to have noncontractual indemnity --                      06:59PM


11               THE COURT:   Doesn't Mississippi have a concept, though,           06:59PM


12   that if you exceed your agency and it causes damage that you're                06:59PM


13   liable?                                                                        06:59PM


14               MR. CERNIGLIA:    There is an agency -- that's a                   06:59PM


15   different thing.    That's on agency.     That is liability for the            06:59PM


16   exceeding the scope of agency.                                                 06:59PM


17               THE COURT:   So why don't you want indemnity?       Why are        07:00PM


18   you choosing to go this way?      How is it different?                         07:00PM


19               MR. HASENKAMPF:   We are not alleging that it's                    07:00PM


20   different.     That agency principle is titled:        Indemnity in the        07:00PM


21   Restatement.    That principle of law --                                       07:00PM


22               THE COURT:   It is based on that?                                  07:00PM


23               MR. HASENKAMPF:   Yes.                                             07:00PM


24               THE COURT:   So why don't you all just put this                    07:00PM


25   together.    It sounds like you're talking about the same thing.               07:00PM




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 1   It's not that you're saying there he is not liable, it's just                 07:00PM


 2   whether you call it agency --                                                 07:00PM


 3             MR. CERNIGLIA:    It depends on what agency is for.                 07:00PM


 4             THE COURT:    So it's the same concept.                             07:00PM


 5                   How are the elements different?                               07:00PM


 6             MR. CERNIGLIA:    It's under contractual indemnity.          He's   07:00PM


 7   looking to be indemnified for everything that he has to pay, and              07:00PM


 8   it's not just for a breach of agency.        In other words, if under         07:00PM


 9   Mississippi law specifically states that if an agent acts within              07:00PM


10   the scope of his agency and has no wrongdoing, he has no                      07:00PM


11   liability.   He's trying to, with the indemnity claim, be                     07:00PM


12   indemnified for any of Burnett's actions.                                     07:01PM


13             THE COURT:    Is that right, Mitch?      That's terrible,           07:01PM


14   Mitch.   I can't believe you would do that.                                   07:01PM


15             MR. HASENKAMPF:    Only for the damages caused by the               07:01PM


16   particular agents exceeding his authority.                                    07:01PM


17             THE COURT:    Well, he doesn't even understand what                 07:01PM


18   you're alleging against him, so you need to make that clear.                  07:01PM


19             MR. CERNIGLIA:    The cause of action that --                       07:01PM


20             THE COURT:    It sounds like he is saying just what you             07:01PM


21   say.   It's not just for everything he did; he had to have                    07:01PM


22   exceeded his authority.     So he's going to rewrite it that way.             07:01PM


23             MR. CERNIGLIA:    The root of the problem is that all of            07:01PM


24   their cross claims, including all the ones that were in Texas,                07:01PM


25   were for noncontractual indemnity as though there was a contract              07:01PM




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 1   that says you will indemnify me.                                            07:01PM


 2                    What he's trying to now argue with agency is what          07:01PM


 3   damages were caused by breach of his agency, as opposed to being            07:02PM


 4   indemnified for anything he may be liable for.                              07:02PM


 5               THE COURT:   But that third paragraph where you say:       An   07:02PM


 6   agent's conduct may generate legal consequences for the                     07:02PM


 7   principal even when the conduct exceeds.                                    07:02PM


 8                    I don't understand the even when.      That's what         07:02PM


 9   you're talking about, is when the agent exceeds his authority.              07:02PM


10               MR. HASENKAMPF:   Right.                                        07:02PM


11               THE COURT:   I don't understand the even when.                  07:02PM


12               MR. HASENKAMPF:   I tried to track the Restatement              07:02PM


13   language.    It's not --                                                    07:02PM


14               THE COURT:   You understand what I'm saying?     I think --     07:02PM


15   he thinks that you think that just because he was your agent                07:02PM


16   that any damage that happened, even if he was within the scope              07:02PM


17   of his authority, you're saying that he's responsible.          But         07:02PM


18   you're not saying that.                                                     07:02PM


19               MR. HASENKAMPF:   Right.   And I'm not saying that.             07:02PM


20                    The objection, as I understood, was that                   07:02PM


21   Mississippi does not allow an indemnity claim with respect to an            07:02PM


22   agent -- principal agent relationship, Indian workers' principal            07:02PM


23   to obtain indemnity.                                                        07:03PM


24               THE COURT:   But he thinks there is an action for under         07:03PM


25   agency, or whatever you want to call it, for exceeding your                 07:03PM




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 1   authority.    Maybe it's the same thing and you are calling it two          07:03PM


 2   different things.                                                           07:03PM


 3             MR. CERNIGLIA:    The confusion comes, like I say, that           07:03PM


 4   this is their cross claim, indemnity.        All cross claim                07:03PM


 5   defendants.                                                                 07:03PM


 6                   While Signal denies all wrongdoings, if there were          07:03PM


 7   any, it was minor or passive and compared to the major inactive             07:03PM


 8   wrong doing of the cross claim defendants, and moreover, was                07:03PM


 9   induced by the wrongful actions of cross claim.                             07:03PM


10                   This language is directly from Louisiana's                  07:03PM


11   tortious indemnity, noncontractual.       The Mississippi equivalent        07:03PM


12   of this claim is noncontractual indemnity.         And, instead of          07:03PM


13   using passive active, they used this language.         That it must be      07:03PM


14   that the claimant seeks to shift -- damages they seek to shift              07:03PM


15   are imposed upon him as a result of some legal obligation to the            07:03PM


16   injured person, and it must appear that the claimant did not                07:04PM


17   actively or affirmatively participate in the wrong.         And that's      07:04PM


18   an essential part of their claim.                                           07:04PM


19                   Now he's changing their cause of action totally             07:04PM


20   to, you know, now I want to claim because you have breached your            07:04PM


21   agency.                                                                     07:04PM


22                   Once again, that gets back to the same thing, is            07:04PM


23   that's just a breach of the contract claim.                                 07:04PM


24             THE COURT:    Okay.   So I'm going to leave all these open        07:04PM


25   right here.   We're going to come back tomorrow at 5:30 and we're           07:04PM




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 1   going to talk about that first.        But you're going to have a new       07:04PM


 2   draft for me and you're going to look at this and see if there's            07:04PM


 3   anything we need to change.                                                 07:04PM


 4               MR. SHAPIRO:   Your Honor, may I be excused to go               07:04PM


 5   outside and make a call?                                                    07:04PM


 6               THE COURT:    Yes, sure.                                        07:04PM


 7               MR. SHAPIRO:   Because I have to make sure my car isn't         07:04PM


 8   booted.                                                                     07:04PM


 9               THE COURT:    On RICO, I had some questions that may be         07:04PM


10   stupid --                                                                   07:05PM


11               MR. SANDLER:   No questions on RICO are ever stupid.            07:05PM


12               MR. WEINBERGER:    Not from a federal district court            07:05PM


13   judge.                                                                      07:05PM


14               THE COURT:    That's condescending.                             07:05PM


15                    I'm on page -- the page that's got racketeering            07:05PM


16   influenced and corrupt.                                                     07:05PM


17               MR. WERNER:    Is this the jury charge with the --              07:05PM


18               THE COURT:    Jury charge.                                      07:05PM


19                    When you say RICO catch-all, wouldn't it be better         07:05PM


20   for you to call it general each time?        Because that's what you        07:05PM


21   used later.                                                                 07:05PM


22                    And, really, I thought, as I was reading this,             07:05PM


23   that maybe all these things about what an enterprise is, all the            07:05PM


24   way to page five where it starts:        The first fact the plaintiff       07:05PM


25   must prove, don't all those things apply to both the general and            07:06PM




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 1   conspiracy?                                                                   07:06PM


 2             MR. WEINBERGER:    No, Your Honor.                                  07:06PM


 3             THE COURT:    They don't?                                           07:06PM


 4             MR. WEINBERGER:    No, Your Honor.                                  07:06PM


 5             THE COURT:    My first stupid question.                             07:06PM


 6             MR. WEINBERGER:    No, Your Honor.     It's not stupid.       Thi   07:06PM


 7   is very complicated stuff.      Scalia says he doesn't understand             07:06PM


 8   it.   That seems good enough for me.                                          07:06PM


 9             THE COURT:    But when you get to conspiracy and you have           07:06PM


10   to say you conspired to do these things, aren't they the things               07:06PM


11   that are under the general?                                                   07:06PM


12             MR. WEINBERGER:    Your Honor, what 1962(d) says is it's            07:06PM


13   a conspiracy to violate A, B or C, some number of them, all of                07:06PM


14   them, only one of them.                                                       07:06PM


15                   The underlying offense, the substantive offense is            07:06PM


16   either A and/or B and/or C.                                                   07:06PM


17             THE COURT:    So you don't -- what you're saying is you             07:06PM


18   don't need to go back to the definitions.                                     07:06PM


19             MR. WEINBERGER:    It's a pretty distinct idea, 1962(d).            07:06PM


20   There's a lot of law about what the agreement must be.          That's        07:06PM


21   the thing I'm fixated on.                                                     07:07PM


22                   I have some good news for you.                                07:07PM


23             THE COURT:    What is it?                                           07:07PM


24             MR. WEINBERGER:    Ninety-nine percent of this are agreed           07:07PM


25   to.   They are very few things that we don't agree about.         The         07:07PM




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 1   things we don't agree about are really important.            But we agree        07:07PM


 2   on almost everything.                                                            07:07PM


 3             MR. SANDLER:    You don't have the Court's agreement on                07:07PM


 4   it, though.                                                                      07:07PM


 5             THE COURT:    I want to make sure I understand it and                  07:07PM


 6   that the jury has some hope of understanding it.                                 07:07PM


 7             MR. WEINBERGER:    Well, that's one of the things I'm                  07:07PM


 8   hoping to fix.                                                                   07:07PM


 9             THE COURT:    So we're going to call the first one                     07:07PM


10   general and use that all the time.                                               07:07PM


11                    And then, when you get to -- then we'll go to                   07:07PM


12   conspiracy.                                                                      07:07PM


13                    And is your issue still on page twelve?                         07:08PM


14             MR. WEINBERGER:    I propose to replace that material in               07:08PM


15   that red box with one sentence, a quotation from Salinas, that                   07:08PM


16   will satisfy me across the board with regard to conspiracy.            Not       07:08PM


17   with regard to the verdict form but with regard to the                           07:08PM


18   instruction.                                                                     07:08PM


19                    All I want, the only thing that I want, Your                    07:08PM


20   Honor, is for that instruction in that red box, so to speak, all                 07:08PM


21   I want is for this one sentence to be used.            And I quote:   The        07:08PM


22   partners in the criminal plan must agree to pursue the same                      07:08PM


23   criminal objective and may divide up the work; yet, each is                      07:08PM


24   responsible for the acts of each other.        That one sentence will            07:08PM


25   satisfy me with regard to the entirety of the instruction on                     07:09PM




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 1   1962(d).    That one sentence.                                                07:09PM


 2               MR. SANDLER:   Are you talking about this dispute here?           07:09PM


 3               MR. WEINBERGER:    Yes.                                           07:09PM


 4               MR. SANDLER:   This is on page twelve.                            07:09PM


 5                    This is the first time we're hearing about this.             07:09PM


 6   It sounds pretty amenable, from what Mr. Weinberger just said.                07:09PM


 7               MR. WEINBERGER:    I'm trying to cure the problem.                07:09PM


 8               MR. SANDLER:   When did you come up with the cure?                07:09PM


 9               MR. WEINBERGER:    When I realized that I was going to            07:09PM


10   have to do something very discrete and very narrow in order to                07:09PM


11   make this work.                                                               07:09PM


12               MR. SANDLER:   But when?   When was that?                         07:09PM


13               THE COURT:    It doesn't matter, it doesn't matter.        He's   07:09PM


14   done it now.                                                                  07:09PM


15               MR. SANDLER:   Because, had he told us earlier today, we          07:09PM


16   would have looked at it and we would have come to an agreement.               07:09PM


17               THE COURT:    I know it really matters; but, right now,           07:09PM


18   we have to deal with what reality is.                                         07:09PM


19               MR. SANDLER:   We'll look at that.     Email me that exact        07:09PM


20   sentence.    That does sound pretty amenable.                                 07:09PM


21               MR. WEINBERGER:    I give this to you.     This is yours.         07:10PM


22   That's Salinas.                                                               07:10PM


23               MR. WERNER:    Did you highlight?                                 07:10PM


24               MR. WEINBERGER:    I flagged it.                                  07:10PM


25               MR. SANDLER:   Isn't everything highlighted in Salinas?           07:10PM




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 1   I'll find it.                                                                07:10PM


 2             THE COURT:    I had a question.                                    07:10PM


 3             MR. SANDLER:    We can get a response to the Court about           07:10PM


 4   this by noon tomorrow.                                                       07:10PM


 5             THE COURT:    On the damages where you say:      Compensation      07:10PM


 6   of deductions from plaintiff's paycheck by Signal.         So you're         07:10PM


 7   only trying to get that from Signal; right?                                  07:10PM


 8             MR. SANDLER:    Well --                                            07:10PM


 9             THE COURT:    I mean, I already have a problem with it             07:10PM


10   because they did provide something.       And I don't know whether           07:10PM


11   they -- even Signal should get the whole thing back.         But I           07:11PM


12   definitely don't see how the others would.         Unless you're saying      07:11PM


13   this is part of this conspiracy and so ...                                   07:11PM


14             MR. SANDLER:    That's where we're going with it.       The        07:11PM


15   conspiracy created those expenses and therefore they're                      07:11PM


16   compensable.                                                                 07:11PM


17             THE COURT:    Is there any issue about whether it's                07:11PM


18   compensable since they did provide the room and board?                       07:11PM


19             MR. SANDLER:    I mean, do you mean that there would be            07:11PM


20   some portion of it --                                                        07:11PM


21             THE COURT:    Like a setoff?    Not a setoff but a                 07:11PM


22   reduction.                                                                   07:11PM


23             MR. WEINBERGER:    That's an argument to the jury, Your            07:11PM


24   Honor.   They weren't injured.                                               07:11PM


25             MR. SANDLER:    Yeah, it's an argument to the jury.                07:11PM




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 1                    So I don't think it needs to be in the                     07:11PM


 2   instruction.                                                                07:11PM


 3               MR. WEINBERGER:   It's an argument.                             07:11PM


 4               MR. SANDLER:   Maybe Signal will convince the jury that         07:11PM


 5   we actually owe them more.                                                  07:12PM


 6               MR. CERNIGLIA:    You know, on maintenance.                     07:12PM


 7               THE COURT:   On your verdict form claim for RICO, on 1,         07:12PM


 8   wouldn't it be:    Did plaintiff prove by preponderance of the              07:12PM


 9   evidence.                                                                   07:12PM


10                    Are you all on the verdict form now?                       07:12PM


11               MR. WEINBERGER:   The general form, Your Honor?                 07:12PM


12               THE COURT:   Yeah.                                              07:12PM


13               MR. WEINBERGER:   Yes, Your Honor.                              07:12PM


14               THE COURT:   On green, whether you use green or red:            07:12PM


15   Did plaintiff prove by a preponderance of the evidence that ...             07:12PM


16               MR. SANDLER:   Yeah.                                            07:12PM


17               MR. WEINBERGER:   That's my --                                  07:12PM


18               THE COURT:   And then so I agree start out that way.            07:12PM


19                    And the difference is that Signal associated or            07:12PM


20   operated or managed.                                                        07:12PM


21                    So I tried to look back at the statute and I               07:12PM


22   didn't see your language.                                                   07:12PM


23               MR. WEINBERGER:   It's in the United States Supreme             07:12PM


24   Court of Reves, R-E-V-E-S.       We talked about this either                07:13PM


25   yesterday or the day before.       If I may read the language again.        07:13PM




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 1   Consider what I did here.                                                        07:13PM


 2             THE COURT:    Did they say it had to be in the jury                    07:13PM


 3   verdict form?    That's a difference.                                            07:13PM


 4             MR. WEINBERGER:    Yes.    You're asking me whether this               07:13PM


 5   was a dispute about an instruction.                                              07:13PM


 6             MR. SANDLER:    Your Honor, what we can offer is a                     07:13PM


 7   compromise position.     The compromise is the green for A-1.          So        07:13PM


 8   with the preponderance of evidence language that you'd just                      07:13PM


 9   indicated.   So it would read:      Did you find from a preponderance            07:13PM


10   of the evidence that Signal associated with any or all the                       07:13PM


11   enterprises that plaintiffs claim Signal was a part of.                          07:13PM


12                   And then, in part B --                                           07:13PM


13             MR. CERNIGLIA:    Under predicate acts?                                07:13PM


14             MR. SANDLER:    Under predicate acts.                                  07:13PM


15                   So then, under predicate acts, it would say --                   07:13PM


16             THE COURT:    Do you find.    Did Signal prove.    Just go:            07:13PM


17   Did Signal prove.    Did plaintiffs prove.                                       07:14PM


18             MR. SANDLER:    -- by a preponderance of the evidence                  07:14PM


19   that Signal completed -- oh, I see.       I'm sorry.    So for A-1.              07:14PM


20             THE COURT:    I'm here.                                                07:14PM


21             MR. SANDLER:    You are down there.                                    07:14PM


22                   Do you find that plaintiffs proved by a                          07:14PM


23   preponderance of the evidence that Signal --                                     07:14PM


24             MR. WERNER:    I'll read my writing.                                   07:14PM


25                   That Signal conducted or participated either                     07:14PM




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 1   directly or indirectly in the affairs of the enterprise or                  07:14PM


 2   enterprises through one or more of the following acts.                      07:14PM


 3                    And then you list the predicate acts.                      07:14PM


 4               MR. WEINBERGER:    That doesn't satisfy me and I can            07:14PM


 5   explain why.                                                                07:14PM


 6               MR. SANDLER:   You can answer, but just to finish up.           07:14PM


 7                    In that way, i would tie in their conduct within           07:14PM


 8   the enterprise to the predicate acts naturally in the verdict               07:14PM


 9   form.   As opposed to being disjunctive, which it was before.               07:14PM


10               MR. WERNER:    And that's direct language from 1962(c).         07:15PM


11               THE COURT:    What's your problem?                              07:15PM


12               MR. WEINBERGER:    To answer your first question, Your          07:15PM


13   Honor, the Reves case, R-E-V-E-S, was a summary judgment                    07:15PM


14   decision, so this was not about an instruction.         Nonetheless,        07:15PM


15   Your Honor, it was, is, the outstanding United States Supreme               07:15PM


16   Court case on what it means to be involved in, to participate in            07:15PM


17   the affairs of an enterprise.      That's the issue that was                07:15PM


18   presented.                                                                  07:15PM


19                    Which led the Supreme Court of the United                  07:15PM


20   States --                                                                   07:15PM


21               THE COURT:    The issue is associated, operated or              07:15PM


22   managed?    Is that the difference?     Because the first one says          07:15PM


23   associated.    The second one says operated or managed.                     07:15PM


24               MR. WEINBERGER:    Your Honor, Your Honor, the question         07:15PM


25   that was presented in this case was based squarely on the                   07:15PM




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 1   language of the statute 1962(c).       The statutory language is that       07:15PM


 2   in order for a criminal to be a criminal under that statute                 07:15PM


 3   there is a requirement that the criminal conduct or participate             07:16PM


 4   directly or indirectly in the conduct of such enterprise's                  07:16PM


 5   affairs.   People --                                                        07:16PM


 6              THE COURT:    Isn't that what --                                 07:16PM


 7              MR. WEINBERGER:    Your Honor, people said:     What does        07:16PM


 8   that mean?   What does it mean to participate or --                         07:16PM


 9                   The answer provided by the Court was:       One must        07:16PM


10   participate in the enterprise -- sorry -- in the operation or               07:16PM


11   management of the enterprise itself.                                        07:16PM


12                   It is the position of Signal that only that                 07:16PM


13   language can adequately and accurately inform the jury what it              07:16PM


14   means to be involved in the conduct or participate --                       07:16PM


15              THE COURT:    Operate or manage it?                              07:16PM


16              MR. WEINBERGER:    You have to operate or manage -- you          07:16PM


17   have to be involved in the operation or the management of the               07:16PM


18   affairs of the operation.                                                   07:16PM


19              THE COURT:    And you said, Dan, conduct or participated.        07:16PM


20              MR. WERNER:    I think it's a question of instructing the        07:16PM


21   jury what it means.      And that's a jury instruction question and         07:16PM


22   not a jury verdict form question.                                           07:17PM


23              MR. WEINBERGER:    Fair enough.                                  07:17PM


24              MR. WERNER:    I'm not conceding that point.                     07:17PM


25              THE COURT:    Did you put it in the instructions?                07:17PM




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 1             MR. WEINBERGER:    No.    Because I put it in a place that        07:17PM


 2   to me is more direct.     I'll move it.                                     07:17PM


 3             THE COURT:    So let's put it in the instructions.                07:17PM


 4             MR. WEINBERGER:    I'll move it.                                  07:17PM


 5             MR. WERNER:    Obviously, we want to --                           07:17PM


 6             THE COURT:    Yeah, I know you haven't agreed.                    07:17PM


 7             MR. SANDLER:    That's another problem with the jury              07:17PM


 8   instructions.                                                               07:17PM


 9             THE COURT:    I wondered, under predicate acts, does              07:17PM


10   Signal have to do this knowingly?       Do you have to say that they        07:17PM


11   knowingly, or just is it implicit in conducted?                             07:17PM


12             MR. WEINBERGER:    Your Honor, that's a long speech.              07:17PM


13             THE COURT:    But it sounds to me like if you conduct or          07:17PM


14   manage or operate, it's intentional.                                        07:17PM


15             MR. WEINBERGER:    It's a different thing.                        07:17PM


16             THE COURT:    So is there an instruction on knowingly?            07:17PM


17             MR. WEINBERGER:    Yes.    There is.                              07:17PM


18                    But my request to add the language from Salinas is         07:17PM


19   designed in the instruction to emphasize to the jury something              07:17PM


20   that Signal must argue very, very carefully to this jury that               07:17PM


21   makes this case a little bit unique in a way that's incredibly              07:18PM


22   important to what's about to happen.                                        07:18PM


23             THE COURT:    I think they're going to be able to teach a         07:18PM


24   class on this.                                                              07:18PM


25             MR. WEINBERGER:    When they listen to this RICO charge,          07:18PM




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 1   I agree.   But, Your Honor, this is very important stuff, so let            07:18PM


 2   me talk about this for a second.                                            07:18PM


 3              THE COURT:   You're way over my head and I'm too tired.          07:18PM


 4   I'd rather you do it tomorrow.                                              07:18PM


 5                   On damages, jury verdict form RICO 1:       What's the      07:18PM


 6   amount of damages that you find was caused in fact by and                   07:18PM


 7   proximately caused.                                                         07:18PM


 8                   Well, that sounds like something that need to be            07:18PM


 9   in the instructions.                                                        07:18PM


10              MR. SANDLER:   That's exactly plaintiff's position, Your         07:18PM


11   Honor.                                                                      07:18PM


12              THE COURT:   Work on that.                                       07:18PM


13              MR. WEINBERGER:   I'm just lost.     That's all I am.            07:18PM


14              MR. SANDLER:   Page four on G for general.                       07:18PM


15              MR. WEINBERGER:   I'll work on it, Judge.                        07:18PM


16              THE COURT:   That wouldn't be here in the form; it would         07:18PM


17   be on the instructions.                                                     07:18PM


18              MR. WEINBERGER:   Let me see if the Eleventh Circuit             07:19PM


19   doesn't say there ought to be a question for causes.                        07:19PM


20                   We'll talk about it during the day and deal with            07:19PM


21   it tomorrow.                                                                07:19PM


22              THE COURT:   So you all are making progress.                     07:19PM


23              MR. SANDLER:   There's also the im pari delicto piece on         07:19PM


24   RICO.                                                                       07:19PM


25              THE COURT:   I'll deal with that in the final draft.             07:19PM




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 1              MR. WEINBERGER:    Just do give me a second to address           07:19PM


 2   it, Judge.                                                                  07:19PM


 3              THE COURT:    No, no.                                            07:19PM


 4              MR. WEINBERGER:    All right, Judge.                             07:19PM


 5              THE COURT:    And we are looking at all the other parts          07:19PM


 6   and putting it together so that at some time, I hope -- maybe               07:19PM


 7   Friday -- we'll have a draft back to you.                                   07:19PM


 8                   Are you all staying in hotels around here?                  07:19PM


 9              MR. SANDLER:   We're local.                                      07:19PM


10              MR. WERNER:    Yes, Your Honor.                                  07:19PM


11              THE COURT:    Philip and I will be the ones -- anybody           07:19PM


12   here will have trouble getting to and from the office.                      07:19PM


13                   I wonder if it would be better -- I can't meet              07:19PM


14   early Saturday.    I could meet Saturday afternoon; but, the later          07:20PM


15   you go in the day, the worse it gets.        I could meet early Sunday      07:20PM


16   morning.   Why don't we do that.                                            07:20PM


17              MR. WEINBERGER:    Do you have a time in mind, Judge?            07:20PM


18              THE COURT:    Let's say 9 o'clock here.     And Philip will      07:20PM


19   meet you at the door to let you in.                                         07:20PM


20              MR. WEINBERGER:    So we get Saturday off.                       07:20PM


21              THE COURT:    I doubt it.   I just don't want to have to         07:20PM


22   be here at a certain time and worry what if I do get stuck or               07:20PM


23   whatever and I just say I'm turning around and going back home.             07:20PM


24                   And, by then, you'll have -- what our goal is, is           07:20PM


25   to put together a whole product and so you all can look at that             07:20PM




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 1   Saturday and we can talk about it Sunday morning.                           07:20PM


 2               MR. WEINBERGER:    Not the cross claims, Judge,                 07:20PM


 3   necessarily.    But the parties are not that far apart, truly.         M.   07:20PM


 4               MR. SANDLER:    Plaintiffs and Signal?                          07:21PM


 5               MR. WEINBERGER:    Plaintiffs and Signal, truly.                07:21PM


 6               THE COURT:    I think we're pretty close on the cross           07:21PM


 7   claims, too.                                                                07:21PM


 8               MR. CERNIGLIA:    I think we're very close on the cross         07:21PM


 9   claims.                                                                     07:21PM


10               THE COURT:    So that's the plan.   So what don't we have?      07:21PM


11                    Now, the one problem is you all have just been             07:21PM


12   sending me the same thing and not making changes when I said I              07:21PM


13   wanted those other sections.       So we've got TPLA, discrimination,       07:21PM


14   retaliation, RICO.       All the other ones, I don't think you've           07:21PM


15   made changes to put them in our format, to do all the things                07:21PM


16   that I've been asking you to do.       So that's what I need                07:21PM


17   tomorrow.    You all understand?    Do not, do not send me what             07:21PM


18   you've sent me before on the instruction or the jury verdict                07:21PM


19   form.   Anybody who does that is in trouble.                                07:21PM


20                    So you know the rest of the claims and you've got          07:21PM


21   to think on the agency how that, whether that -- how that                   07:21PM


22   affects anyone else.       I'm still concerned about that, how you          07:22PM


23   all are going to deal with that.                                            07:22PM


24                    There's no -- on the cross claims, there's no              07:22PM


25   agency issue or comparative fault issue; is that right?                     07:22PM




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 1             MR. HASENKAMPF:    Correct.                                        07:22PM


 2             THE COURT:    Okay.                                                07:22PM


 3                   And, on yours, you've got think about whether                07:22PM


 4   there's those issues.                                                        07:22PM


 5             MR. SANDLER:    And we submitted agency instructions.              07:22PM


 6             THE COURT:    But -- but they're at the end.      Those are        07:22PM


 7   the ones -- those are January 18th.       So those need to be redone.        07:22PM


 8             MR. SANDLER:    Okay.    We'll have them reformatted.              07:22PM


 9             THE COURT:    I don't known how many times I have to say           07:22PM


10   something like that.                                                         07:22PM


11             MR. SANDLER:    There was dispute I think with the                 07:22PM


12   Burnett defendant, a little bit with the Dewan defendants and a              07:22PM


13   little bit with the Signal.       We'll attempt to resolve them              07:22PM


14   before that.                                                                 07:22PM


15             MR. SHAPIRO:    You're talking about the RICO?                     07:22PM


16             MR. SANDLER:    Agency.                                            07:22PM


17             THE COURT:    Everything from RICO on, I don't think we            07:22PM


18   have.   Or we don't have a new version.                                      07:22PM


19             MR. WERNER:    To be clear, for the RICO jury                      07:23PM


20   instructions.                                                                07:23PM


21             THE COURT:    And if you can -- you all are going to redo          07:23PM


22   those, too.    But I'm talking about, from there on, I can't                 07:23PM


23   finish this and get, over the weekend, get a complete product                07:23PM


24   when you all won't give me another version.                                  07:23PM


25             MR. SANDLER:    So we filed RICO yesterday.      Then that         07:23PM




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 1   format is incorrect?                                                         07:23PM


 2             THE COURT:    RICO is better.                                      07:23PM


 3             MR. SANDER:    Is better.                                          07:23PM


 4             THE COURT:    The others, you just filed what you did              07:23PM


 5   before I did the format.                                                     07:23PM


 6             MR. SANDLER:    The TPVRA.                                         07:23PM


 7                   So it still needs to be tweaked in a format.                 07:23PM


 8             THE COURT:    The others completely.                               07:23PM


 9             MR. SANDLER:    And I didn't know if the RICO had made             07:23PM


10   its way across.                                                              07:23PM


11             THE COURT:    I can't really tell because I am just                07:23PM


12   looking at substance right now.                                              07:23PM


13             MR. SANDLER:    We will double-check it.                           07:23PM


14             MR. WERNER:    Just to be clear, for RICO, would it be             07:23PM


15   helpful -- and I understand the formatting is to be all capped               07:23PM


16   and double-spaced.     Should we make those changes now?                     07:23PM


17             THE COURT:    Yeah.   Let's do that.                               07:24PM


18                   Oh, you know, I guess that's -- maybe not, so I              07:24PM


19   can see what the difference is.                                              07:24PM


20                   I'm talking about the language in the headings               07:24PM


21   and, you know, that if I want you to start with Signal makes or              07:24PM


22   plaintiffs make these claims against so and so, plaintiffs must              07:24PM


23   prove by a preponderance of the evidence this.         So that's more        07:24PM


24   the format issue on those other ones.                                        07:24PM


25                   And compensatory damages on each one.       Remember,        07:24PM




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 1   because we're not putting it in the -- and punitives.                         07:24PM


 2              MR. SANDLER:    That's one thing RICO doesn't do.                  07:24PM


 3              MR. SHAPIRO:    Your Honor, I have just one comment.               07:24PM


 4   Yesterday -- I think it was yesterday, I'm losing track of the                07:24PM


 5   days.   But I believe that you asked the plaintiffs to look at                07:24PM


 6   the RICO instruction that I submitted because you thought there               07:24PM


 7   was some good ideas in it.      And I agree.    In fact, I think it's         07:25PM


 8   very simplified and -- but I've been advised today that zero                  07:25PM


 9   changes were made based on my recommendations.                                07:25PM


10              THE COURT:   Well, you know, Steve, if they'd had those            07:25PM


11   earlier and if I had them, I might have had a chance to say:                  07:25PM


12   Let's do it this way.     But we didn't.     So that's what happens           07:25PM


13   when they get turned in late.                                                 07:25PM


14              MR. SHAPIRO:    I've done the best I can from the pattern          07:25PM


15   instructions.                                                                 07:25PM


16              THE COURT:   I know you all have had it, and I've had              07:25PM


17   it, too.   So I'll see you tomorrow morning.                                  07:25PM


18              MR. WEINBERGER:    Thank you, Your Honor.                          07:25PM


19              THE COURT:   The redoing RICO and turning in all the               07:25PM


20   others, I want by 5.      So everything from RICO to the end.      And        07:25PM


21   the redone cross claims.     And then we'll talk about it again.              07:25PM


22              MR. WEINBERGER:    Your Honor, do you know if this                 07:26PM


23   conference tomorrow night will be confined to cross claim                     07:26PM


24   issues?                                                                       07:26PM


25              THE COURT:   No, it will not.                                      07:26PM




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 1             MR. SANDLER:    Is there any way -- and forgive me for            07:26PM


 2   asking this -- is here any way that we can do plaintiff's claims

 3   first?   They all have to say for our claims anyway.        And, cross

 4   claims, we can have one or two attorneys stay.

 5             THE COURT:    I am trying to give them more attention

 6   because I felt like they needed it.

 7                   (7:28 p.m., proceedings concluded.)                         07:26PM


 8                                                                               07:26PM


 9                                 CERTIFICATE                                   07:26PM


10

11
               I, Susan A. Zielie, Official Court Reporter, do hereby
12   certify that the foregoing transcript is correct.

13

14
                                         /S/ SUSAN A. ZIELIE, FCRR
15                                        ____________________________
                                              Susan A. Zielie, FCRR
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